Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 1 of 25 PageID:
                                   7537
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 2 of 25 PageID:
                                   7538
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 3 of 25 PageID:
                                   7539
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 4 of 25 PageID:
                                   7540
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 5 of 25 PageID:
                                   7541
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 6 of 25 PageID:
                                   7542
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 7 of 25 PageID:
                                   7543
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 8 of 25 PageID:
                                   7544
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 9 of 25 PageID:
                                   7545
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 10 of 25 PageID:
                                    7546
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 11 of 25 PageID:
                                    7547
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 12 of 25 PageID:
                                    7548
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 13 of 25 PageID:
                                    7549
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 14 of 25 PageID:
                                    7550
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 15 of 25 PageID:
                                    7551
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 16 of 25 PageID:
                                    7552
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 17 of 25 PageID:
                                    7553
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 18 of 25 PageID:
                                    7554
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 19 of 25 PageID:
                                    7555
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 20 of 25 PageID:
                                    7556
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 21 of 25 PageID:
                                    7557
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 22 of 25 PageID:
                                    7558
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 23 of 25 PageID:
                                    7559
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 24 of 25 PageID:
                                    7560
Case 3:12-cv-01893-MAS-TJB   Document 477   Filed 10/03/16   Page 25 of 25 PageID:
                                    7561
